                                        CIVIL1-1
               Case 0:22-cv-60113-BB Document
JS 44 (Rev. 04/21)                             COVER   SHEET
                                                 Entered on FLSD Docket 01/14/2022 Page 1 of 2
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the purpose
of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                       DEFENDANTS
TREVOR HOLDEN                                                                                         AMERICAN DATABANK, LLC

  (b) County of Residence of First Listed Plaintiff            State of Florida                         County of Residence of First Listed Defendant              State of Colorado
                               (EXCEPT IN U.S. PLAINTIFF CASES)                                                                      (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                         NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF THE
                                                                                                                    TRACT OF LAND INVOLVED.
  (c) Attorneys (Firm Name, Address, and Telephone Number)                                                Attorneys (If Known)
Ignacio Hiraldo, IJHhiraldo@IJHlaw.com                                                                ELAINE M. RICE, ERice@jclaw.com
IJH LAW                                                                                               JOHNSON, CASSIDY, NEWLON & DECORT, P.A.
1200 Brickell Ave., Suite 1950, Miami, FL 33131                                                       2802 N. Howard Avenue, Tampa, Florida 33607
Telephone: 786-496-4469                                                                               Telephone: (813) 699-4859 / Facsimile: (813) 235-0462

II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                    III. CITIZENSHIP OF PRINCIPAL PARTIES                                    (Place an “X” in One Box for Plaintiff
                                                                                                    (For Diversity Cases Only)                                        and One Box for Defendant)
    1 U.S. Government                   3 Federal Question                                                                    PTF         DEF                                         PTF      DEF
         Plaintiff                          (U.S. Government Not a Party)                      Citizen of This State              1           1   Incorporated or Principal Place          4     4
                                                                                                                                                    of Business In This State

    2 U.S. Government                   4 Diversity                                            Citizen of Another State                           Incorporated and Principal Place            5        5
                                                                                                                                     2        2
        Defendant                           (Indicate Citizenship of Parties in Item III)                                                            of Business In Another State
                                                                                               Citizen or Subject of a
                                                                                                                                     3        3   Foreign Nation                              6        6
                                                                                                 Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                        Click here for: Nature of Suit Code Descriptions.
          CONTRACT                                           TORTS                                FORFEITURE/PENALTY                        BANKRUPTCY                      OTHER STATUTES
    110 Insurance                    PERSONAL INJURY                                                                                                                       375 False Claims Act
                                                                  PERSONAL INJURY                   625 Drug Related Seizure             422 Appeal 28 USC 158
    120 Marine                        310 Airplane                                                      of Property 21 USC 881                                             376 Qui Tam (31 USC
                                                                   365 Personal Injury -                                                 423 Withdrawal
    130 Miller Act                    315 Airplane Product             Product Liability            690 Other                               28 USC 157                          3729(a))
    140 Negotiable Instrument               Liability                                                                                                                      400 State Reapportionment
                                                                   367 Health Care/                                                        INTELLECTUAL
    150 Recovery of Overpayment       320 Assault, Libel &            Pharmaceutical                                                                                       410 Antitrust
                                                                                                                                          PROPERTY RIGHTS
      & Enforcement of Judgment             Slander                   Personal Injury                                                                                      430 Banks and Banking
                                                                                                                                         820 Copyrights
    151 Medicare Act                  330 Federal Employers’          Product Liability                                                                                    450 Commerce
                                            Liability                                                                                    830 Patent
    152 Recovery of Defaulted                                      368 Asbestos Personal                                                                                   460 Deportation
                                      340 Marine                                                                                         835 Patent - Abbreviated
         Student Loans                                                Injury Product                                                                                       470 Racketeer Influenced and
                                                                                                                                              New Drug Application
         (Excludes Veterans)          345 Marine Product              Liability                                                                                                 Corrupt Organizations
                                            Liability            PERSONAL PROPERTY                                                       840 Trademark
    153 Recovery of Overpayment                                                                                                                                            480 Consumer Credit
                                      350 Motor Vehicle            370 Other Fraud                                                       880 Defend Trade Secrets
        of Veteran’s Benefits                                                                                                                                                  (15 USC 1681 or 1692)
                                      355 Motor Vehicle                                                                                       Act of 2016
    160 Stockholders’ Suits                                        371 Truth in Lending                                                                                    485 Telephone Consumer
                                            Product Liability                                               LABOR                         SOCIAL SECURITY
    190 Other Contract                                             380 Other Personal                                                                                          Protection Act
                                      360 Other Personal                Property Damage             710 Fair Labor Standards             861 HIA (1395ff)
    195 Contract Product Liability                                                                                                                                         490 Cable/Sat TV
                                           Injury                  385 Property Damage                   Act                             862 Black Lung (923)
    196 Franchise                                                                                                                                                          850 Securities/Commodities/
                                      362 Personal Injury -             Product Liability           720 Labor/Management                 863 DIWC/DIWW (405(g))                 Exchange
                                           Medical Malpractice                                          Relations                        864 SSID Title XVI                890 Other Statutory Actions
                                                                                                    740 Railway Labor Act                865 RSI (405(g))                  891 Agricultural Acts
      REAL PROPERTY                     CIVIL RIGHTS                PRISONER PETITIONS              751 Family and Medical               FEDERAL TAX SUITS
                                                                                                        Leave Act                                                          893 Environmental Matters
    210 Land Condemnation             440 Other Civil Rights         Habeas Corpus:                                                      870 Taxes (U.S. Plaintiff         895 Freedom of Information
                                                                                                    790 Other Labor Litigation
    220 Foreclosure                   441 Voting                      463 Alien Detainee                                                      or Defendant)                     Act
                                                                                                    791 Employee Retirement
    230 Rent Lease & Ejectment        442 Employment                  510 Motions to Vacate                                              871 IRS—Third Party               896 Arbitration
                                                                                                        Income Security Act
    240 Torts to Land                 443 Housing/                         Sentence                                                           26 USC 7609                  899 Administrative Procedure
                                                                                                       IMMIGRATION
    245 Tort Product Liability             Accommodations             530 General                                                                                               Act/Review or Appeal of
                                                                      535 Death Penalty             462 Naturalization Application                                              Agency Decision
    290 All Other Real Property       445 Amer. w/Disabilities-
                                           Employment                Other:                         465 Other Immigration                                                  950 Constitutionality of
                                                                      540 Mandamus & Other              Actions                                                                 State Statutes
                                      446 Amer. w/Disabilities-
                                           Other                      550 Civil Rights
                                      448 Education                   555 Prison Condition
                                                                      560 Civil Detainee -
                                                                           Conditions of
                                                                           Confinement
V. ORIGIN (Place an “X” in One Box Only)
   1 Original                2 Removed from                3      Remanded from               4 Reinstated or            5 Transferred from          6 Multidistrict                  8 Multidistrict
     Proceeding                State Court                        Appellate Court               Reopened                   Another District             Litigation-                   Litigation -
                                                                                                                  (specify)                             Transfer                      Direct File
                                      Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                      28 U.S.C. Sections 1332, 1441 and 1446 and 47:227
VI. CAUSE OF ACTION                   Brief description of cause:
                                      Plaintiff alleges viiolations of the Florida Telephone Solicitations Act, Fla. Stat. 501.059 et seq.
VII. REQUESTED IN                          CHECK IF THIS IS A CLASS ACTION                    DEMAND $                                   CHECK YES only if demanded in complaint:
      COMPLAINT:                           UNDER RULE 23, F.R.Cv.P.                                                                      JURY DEMAND:            Yes      No
VIII. RELATED CASE(S)                    (See instructions):
      IF ANY                                                      JUDGE                                                                  DOCKET NUMBER
DATE January 14, 2022                                                SIGNATURE OF ATTORNEY OF RECORD /s/ Elaine M. Rice
FOR OFFICE USE ONLY
  RECEIPT #                    AMOUNT                                    APPLYING IFP                                    JUDGE                           MAG. JUDGE
                                                                                                                                                       American LegalNet, Inc.
                                                                                                                                                       www.FormsWorkFlow.com
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                     INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
                                                               Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

I.(a) Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
      only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and then
      the official, giving both name and title.
  (b) County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
      time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
      condemnation cases, the county of residence of the "defendant" is the location of the tract of land involved.)
  (c) Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
      in this section "(see attachment)".

II.      Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X"
         in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
         United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
         United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.
         Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
         to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
         precedence, and box 1 or 2 should be marked.
         Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
         citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
         cases.)

III.     Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
         section for each principal party.

IV.      Nature of Suit. Place an "X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature of suit code
         that is most applicable. Click here for: Nature of Suit Code Descriptions.

V.       Origin. Place an "X" in one of the seven boxes.
         Original Proceedings. (1) Cases which originate in the United States district courts.
         Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
         Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
         date.
         Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
         Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
         multidistrict litigation transfers.
         Multidistrict Litigation – Transfer. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C.
         Section 1407.
         Multidistrict Litigation – Direct File. (8) Check this box when a multidistrict case is filed in the same district as the Master MDL docket.
         PLEASE NOTE THAT THERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to
         changes in statute.

VI.      Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
         statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service.

VII.     Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
         Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
         Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

VIII.    Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If there are related pending cases, insert the docket
         numbers and the corresponding judge names for such cases.

Date and Attorney Signature. Date and sign the civil cover sheet.




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